Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 1 of 35




                        Exhibit 5
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Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 2 of 35
 Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 3 of 35




             EXPERT REPORT OF ROBERT CHARLES GOSSELIN



Qualifications:

I am a California licensed clinical laboratory scientist, with more than 30 years of

experience in the field of technical hemostasis. For the past 29.5 years, I have been at

the University of California, Davis Health System (UCDHS) as a supervisor, then

transitioned to the senior coagulation specialist in the 1998.



My current role is to perform requested testing for bleeding and thrombosis

evaluations, consulting to physicians, housestaff and ancillary personnel, and teaching

to fellows, residents, and clinical laboratory scientists. I have evaluated and

implemented a vast number of clinical tests, as well as participated in numerous

collaborative research studies within UCDHS, but also with national and international

colleagues, as well as industry sponsored studies. I have been a past member of the

Clinical and Laboratory Standards Institute (CLSI) Area Committee on Hematology,

and currently have board appointments for the North American Specialized

Coagulation Laboratory Association (NASCOLA) and the International Society for

Laboratory Hematology. I serve as the Associated Editor for the International Journal

of Laboratory Hematology and Seminars in Thrombosis and Hemostasis, as well as

provide manuscript review for numerous hemostasis related journals. I have

provided consulting services to Sekisui Diagnostics, and Nichols Management Group,

and participated in Advisory meetings for Instrumentation Laboratory, Boehringer

Ingelheim, and NovoNordisk. I have been an invited speaker to multiple meetings and
                                            1
 Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 4 of 35




seminars, including an FDA sponsored workshop on Direct Oral AntiCoagulants

(DOAC) in October 2015. My current interest is in the area of DOACs, the methods for

measuring or assessing this class of anticoagulants and their impact on coagulation

testing. Lastly, I am the chairperson for an international‐based DOAC guideline

development committee for the International Council for Standardization in

Haematology. I have several peer‐review publications about DOACs and their effect on

laboratory testing:



        1)    Adcock DM, Gosselin RC, Kitchen S, Dwyre DM. The Effect of Dabigatran

              on Select Specialty Coagulation Assays. Am J Clin Pathol 2013; 139:102‐

              09.


        2)    Dager WE, Gosselin RC, Kitchen S, Dwyre DM. Dabigatran effects on the

              international normalized ratio, activated partial thromboplastin time,

              thrombin time and fibrinogen: a multi‐center, in‐vitro study. Ann

              Pharmacother 2012 Ann Pharmacother. 2012 Dec; 46:1627‐36.


        3)    Dager WE, Gosselin RC, Roberts AJ. Reversing Dabigatran in a Life‐

              Threatening Bleed Occurring During Cardiac Ablation With Factor Eight

              Inhibitor Bypassing Activity. Crit Care Med. 2013;41:e42‐6.


        4)    Aron JL, Gosselin R, Moll S, Arkin CF, Mantha S. Effects of Recombinant

              Factor VIIa on Thrombin Generation and Thromboelastography in a

              Patient with Dabigatran‐Associated Intracranial Hemorrhage J J Thromb

              Thrombolysis. 2014;37(2):76‐9

                                           2
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 5 of 35




     5)   Hawes E, Deal A, Adcock D, Gosselin R, Jeanneret C, Cook A, Taylor M,

          Whinna H, Winkler A, Moll S. Performance of coagulation tests in

          patients on therapeutic doses of dabigatran: cross‐sectional study based

          on peak and through plasma levels. J Thromb Haemost. 2013;11:1493‐

          502.


     6)   Gosselin RC, Dwyre DM, Dager WE. Measuring Dabigatran

          Concentrations Using a Chromogenic Ecarin Clotting Time Assay. Ann

          Pharmacother. 2013;47(12):1635‐40


     7)   Gosselin RC, Hawes EM, Moll S, Adcock D. Performance of Various

          Laboratory Assays in the Measurement of Dabigatran in Patients on

          Therapeutic Doses: A Prospective Study Based on Peak and Trough

          Plasma Levels. Am J Clin Pathol. 2014;141(2):262‐7.


     8)   Francart SJ, Hawes EM, Deal AM, Adcock‐Funk D, Gosselin R, Jeannert C,

          Friedman K, Moll S. Performance of Coagulation Tests in Patients on

          Therapeutic Doses of Rivaroxaban: A Cross‐Sectional Pharmacodynamic

          Study Based on Peak and Trough Plasma Levels. Thromb Haemost. 2014:

          111(6):1133‐1140. [Epub ahead of print]


     9)   Gosselin RC, Francart SJ, Hawes EM, Moll S, Adcock‐Funk D.

          Comparison of Anti‐Xa and DRVVT assays in quantifying drug levels in

          patients taking therapeutic doses of rivaroxaban. Arch Pathol Lab Med

          2014; 138:1680‐1684.


                                      3
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 6 of 35




     10)   Kim YA, Gosselin R, van Cott EM. The Effects of Dabigatran on Lupus

           Anticoagulant, Diluted Plasma Thrombin Time, and other Specialized

           Coagulation Assays. Int J Lab Hematol. 2014 Dec 17. doi:

           10.1111/ijlh.12319. [Epub ahead of print]


     11)   Gosselin RC, Adcock D, Hawes EM, Francart SJ, Grant RP, Moll S.

           Evaluating the use of commercial drug‐specific calibrators for

           determining PT and APTT reagent sensitivity to dabigatran and

           rivaroxaban. Thromb Haemost. 2015;113:77‐84.


     12)   Gosselin RC, Francart SJ, Hawes EM, Moll S, Dager WE, Adcock DM.

           Measuring Plasma Rivaroxaban Concentration Using Chromogenic Anti‐

           Xa Heparin Assays, Practical Considerations. Ann Pharmacother.

           2015;49(7):777‐83.


     13)   Gosselin RC, Adcock DM. Assessing Non‐vitamin K Anticoagulants

           (NOACs) in the Laboratory. Int J Lab Hematol. 2015;37 Suppl 1:46‐51.


     14)   Adcock DM, Gosselin RC. Direct Oral Anticoagulants (DOACs) in the

           Laboratory: 2015 Review. Thromb Res 2015;136(1):7‐12.


     15)   Letertre LR, Gudmundsdottir BR, Francis CW, Gosselin RC, Skeppholm

           M, Malmstrom R, Moll S, Hawes E, Francart S, Onundarson PT. A single

           test to assay warfarin, dabigatran, rivaroxaban, apixaban, unfractionated

           heparin and enoxaparin in plasma. J Thromb Haemost 2016 Feb 29. doi:

           10.1111/jth.13300. [Epub ahead of print]

                                        4
 Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 7 of 35




        16)   Gosselin RC, Adcock DM. The laboratory assessment of the 'new' direct

              oral anticoagulants. J Thromb Haemost. 2016 Jan 21. doi:

              10.1111/jth.13266. [Epub ahead of print]


        17)   Gosselin RC, Grant R, Adcock DM. Comparison on the effect of the Anti‐

              Xa Direct Oral Anticoagulants (DOAC) Apixaban, Edoxaban and

              Rivaroxaban on coagulation assays. Int J Lab Hematol 2016;38(5):505‐

              13.


        18)   Douxfils J, Gosselin RC. Laboratory assessment of direct oral

              anticoagulants (DOACs). Sem Thromb Hemosta 2016 (in press).


Attached is my curriculum vitae, for complete detail on my clinical, research, and

published works. All opinions in my report are stated to a reasonable degree of

scientific certainty. I reserve the right to supplement my opinions if and when

additional material becomes available. I have no prior testimony, and my fee is $200

per hour.

Background

Hemostasis is a complex process involving the endothelium, and the circulating

cellular and fluid components within the blood in order to maintain vascular integrity.

Endothelial and circulating factors can initiate blood clot formation (procoagulants) in

the event of vascular injury, but also regulate and limit the degree of clot formation to

the site of injury (regulators). Perturbations to this hemostasis system can lead to

bleeding or pathologic clot formation (thrombosis). A more simplistic view is to

consider the hemostasis process as a balance between factors that have procoagulant

                                            5
 Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 8 of 35




properties and those factors that regulate the process to control the degree of clot

formation, facilitate wound repair and healing. When the balance is altered, with more

regulating components relative to procoagulant components, an individual may be at

risk for bleeding. Conversely, when the balance shifts in the opposite direction, with

more procoagulants relative to regulators, then individuals may be at risk for

thrombosis. The changes to this hemostasis process can either be congenital (e.g.

hemophilia A) or acquired (e.g. trauma, cancer, post‐orthopedic surgery), but other

clinical conditions are associated with thrombotic risks (e.g. atrial fibrillation). For

those patients with an identifiable bleeding risk, the treatment would be to replace

blood components (e.g. platelets) or blood factors, whereas those patients with an

identifiable thrombosis or thrombotic risk may require pharmaceutical (e.g. heparin,

aspirin) or mechanical (e.g. vena cava filter) intervention.



Pharmaceutical intervention essentially alters the hemostatic balance. Anticoagulant

drugs, administered either through oral or parenteral (intravenous or subcutaneous)

routes, can be directed to restrict the procoagulant effects of platelets

(antithrombotics) or restrict thrombin generation (anticoagulants), and thus favor the

reduction of procoagulants increasing bleeding risks compared to individuals not

recieving anticoagulation. Conversely, pharmaceutical intervention such as factor

replacement therapy (e.g. cryoprecipitate, factor VIII), activated factor (e.g.

NovoSeven) or factor complexes (prothrombin complex concentrates or activated

prothrombin complex concentrates) may also alter the hemostatic balance to increase

a thrombosis risk.


                                             6
 Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 9 of 35




The clinical laboratory serves as an integral tool to assist clinicians in either 1)

identifying those patients at risk for bleeding and thrombosis or 2) assuring adequate

therapeutic intervention for either the bleeding or thrombotic risk patient. Most

clinical laboratories provide some method for quantifying cellular components of

blood (white blood cell count, platelet count) and coagulation related screening tests,

such as the prothrombin time (PT) or activated partial thrombin time (APTT), which

provide an estimation of the in‐vitro (outside the body) hemostasis process in plasma

or whole blood. Both the PT and APTT serve as diagnostic tests that screen for most

factor deficiencies or inhibitors, but may also serve as monitoring tools for therapeutic

efficacy. PT or APTT are more useful in patients with bleeding or pharmaceutical

intervention than in those patients with thrombosis or thrombotic risk; as changes

(decreased levels or interference in function) in procoagulants associated with

bleeding risks are typically associated with prolonged PT and/or APTT. Larger, or

more specialized clinical laboratories may provide other tests to quantify circulating

procoagulants or replacement therapy (e.g. factor VIII), quantify regulatory

components (e.g. protein C), assess the functional capacity of the cellular components

(e.g. platelet aggregation), or drug levels (e.g. anti‐Xa measurement).




                                              7
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 10 of 35




The waterfall cascade: a guide for interpreting hemostasis

For years the historical waterfall cascade has been used to describe the hemostasis

process. While the waterfall cascade may not represent the in‐vivo coagulation

process, it still provides a useful guide for interpreting laboratory PT and APTT results,

as well as understanding the effects of pharmaceutical interventions (anticoagulants).

More recent revelations about the true in‐vivo hemostasis have modified the

traditional waterfall cascade. A simpler version of the waterfall cascade would be the

figure “Y”, where the intrinsic pathway is represented by the left upper wing of the Y,

the extrinsic pathway by the upper wing of the “Y”, and the common pathway by the

tail of the Y. When comparing the simplified Y cascade to routine coagulation testing,

the upper left wing and tail of the Y represents those factors (contact factors, XI, X, IX,

VIII, V, II, and fibrinogen) that are assessed using the activated partial thromboplastin

time, or APTT (green outline). The upper right and tail of the Y represent those factors

(X, VII, V, II and fibrinogen) that are assessed by the prothrombin time, or PT (blue

outline). The common pathway, or tail of the Y, suggests these factors (X, V, II and

fibrinogen) influence both the PT and APTT (green and blue overlay). Therefore, the

combinations of PT and APTT results would suggest to the clinician area(s) for

coagulation deficiency, inhibitor or the influence of anticoagulant therapy.




                                             8
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 11 of 35




                                                Prothrombin Time (PT) and activated partial
                                                    thromboplastin time (APTT) Testing
                                                PT
                                                    PPP                    TF+CaCl2                                  Clot Detection


                                                                   37oC                                                                           Optical methods:
                                                                                                                                                  change in turbidity


                                                APTT
                                                                                                                                                  Mechanical methods:
                                                    PPP              Act+PL                                  CaCl2    Clot Detection              change in motion




                                                                                                 37oC
                                               PPP: Platelet Poor Plasma; TF: Tissue Factor; Act: activator; PL: Phospholipid




                                                  Traditional Waterfall cascade
                                                                                                                                                                                     Revised
         XII
               HMWK
                        XIIa
                                                                                                                                                  Tissue Factor                      Cascade
               Pre
                                                                          XII                                                                            VII
                                                           VII
         XI             XIa                                                     XI
                                                  Ca+2
                                                                                                       VII
                                                                                     IX
                                                          TF
         IX             IXa                      VIIa                                     VIII
                                                                                                                                    VIIa-TF                         VIIa-TF
                                   PF4
                                                                                                                                                          X                  IX
  VIII          VIIIa              Ca+2                                                           X
                                                                                                                                                                               XIa
                                                                                                                                                                         IXa
                         X                         Xa                                                                           neutralized
                                                                                                  V

                                                                                                                                                          Xa                 VIIIa       VIII
                                                   PF4                                            II
                                                                                                                                -TF-Xa
                                                                                                                             VIIa
                               V          Va
                                                   Ca+2                                                                             TFPI

                        Prothrombin                     Thrombin
                                                                                                                                              V                         Va
                               Fibrinogen                             Fibrin
                                                                                                                                    Prothrombin                                   Thrombin
                                                                                                                                                                 F1.2
                                   aPTT                   PT




The PT and APTT are not precise measures of coagulation, as they measure the time to

clot formation after addition of activators, phospholipids and calcium to citrated

plasma. Unlike potassium or sodium levels that can be quantified using ion specific

electrodes, PT and APTT can only provide an estimation of the coagulation process.

There is some standardization for measuring the PT, but only in patients treated with


                                                                                                                 9
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 12 of 35




oral vitamin K antagonists (see below), otherwise, there are no means for

standardizing the measurements or clotting time of these assays. For all laboratory

assays, reference intervals are based on normal, ostensibly healthy individuals.

However, in normal ostensibly healthy individuals, hemostatic changes in factor levels

may occur after physiological stress (e.g. exercise), diet (e.g. caffeine), hormonal

changes (ovulation cycle), diurnal effects (morning versus afternoon), gender, age, and

ABO blood group. A rough estimation of normal levels of circulating factor II‐XII is

~50‐150%/mL (0.50‐1.50IU/mL), and fibrinogen ~150‐450mg/dL. Decreased factor

levels are associated with increasing clotting times for the PT and/or APTT, usually

with a (curvi‐)linear relationship to the degree of factor deficiency with prolongation

of the clotting time. A sample with a factor VIII level of 20% will have a higher clotting

time than a sample containing a factor VIII level of 50%. Conversely, increased factor

levels may shorten the clotting times of these clot based assays. Pharmaceutical

interventions for patients with thrombotic risk may cause either depleted factor

activity (e.g. oral vitamin K antagonists such as warfarin), or interfere with the function

of factors (e.g. heparin) and thus cause delay in clot formation. These anticoagulants

typically show a (curvi‐)linear‐dose/drug dependent effect on the PT and/or APTT,

and have demonstrated to be a suitable means for assessing the efficacy of these drugs.

Drugs or blood products used to correct factor deficiencies or control hemorrhage may

either boost circulating factor levels or provide activated factors (e.g. NovoSeven) to

accelerate the clotting process, thereby shortening the clotting times seen in the PT

and APTT. Factitious causes for prolonged clotting times (not related to the quantity

or function of the circulating factors) include numerous preanalytical variables (e.g.


                                            10
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 13 of 35




time, temperature), non‐specific inhibitors (e.g. lupus anticoagulant) and certain

antibiotics (lipoglycopeptides), which interfere with the interaction of the circulating

coagulation actors with phospholipids present in the reagent.



Prothrombin time (PT)

First described by Armand Quick in 1935, this test is used to screen for fibrinogen,

factors II, V, VII and X. The Quick PT method utilizes a tissue thromboplastin source

that is (was) derived from animal or human brains, human placenta, cell cultures, or

recombinant material. Although there are whole blood PT methods, the most common

sample used for PT testing is one that has been collected in 3.2% sodium citrate, the

centrifuged within 24 hours to obtain platelet poor plasma (defined as plasma

containing <10,000 platelets/mL) or PPP. After PPP preparation, the tissue

thromboplastin preparation (which also contains calcium chloride) is added to PPP

and the time required to clot formation is visually, optically or mechanically detected.

[Figure 2] Early iterations of the Quick method varied in response to factor

deficiencies, especially as Coumadin anticoagulation and standardization efforts were

created to optimize the PT for measuring oral vitamin K antagonists, which affect the

function of factors II, VII, IX and X. The International Normalized Ratio (INR) is a

mathematical conversion of the PT based on the reagent sensitivity to Coumadin

treated patients, instrument reading method, and normal population, in an effort to

standardized the treatment of these patients. A modified Quick method developed by

Paul Owren utilizes an adsorbed bovine plasma and FBG devoid of Vitamin K

dependent factors, and the sample dilution is 1:21 versus the 1:3 dilution with Quick


                                            11
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 14 of 35




method. The Owren PT method was thought to ameliorate the problems associated

with Coumadin anticoagulation as this method was not affected by factor V or

fibrinogen concentration.


 Reagent name           Manufacturer      Method         CAP
 SPA+                      Stago          Owren          No
 Innovin                  Siemens          Quick         Yes
 Neoplastine CI Plus       Stago           Quick         Yes
 R2G                         IL            Quick         Yes
 Neoplastine R             Stago           Quick         No
 Thromborel S             Siemens          Quick         Yes
 Triniclot PT Excel S      Stago           Quick         Yes
 Nycotest PT             Axis‐Shield      Owren          No
 Owren’s PT               Medirox         Owren          No
 Thrombotest             Axis‐Shield      Owren          No
 Bioskel PT               Bio‐Skel         Quick         No
 Hemosil PT                  IL            Quick         Yes
 Roche
                            Roche          Quick          No
 Thromboplastin
 Technoplastin HIS       Technoclone       Quick         No
 Triniclot PT HTF           Stago          Quick         Yes
 Simple Simon             Zafena AB        Owren         No

The PT clotting time of normal healthy individuals varies depending on the reagent,

clot detection method, tissue thromboplastin source and concentration, but usually is

between 9‐14 seconds. Prolongation of the Quick PT would suggest a factor deficiency

or antibody/drug inhibition to the extrinsic or common pathway factors (Fibrinogen,

II, V, VII and X). Less common, the PT may also be abnormal in patients with normal

factor levels but who have antiphospholipid antibodies (e.g. lupus anticoagulant) or

who are on lipoglycopeptide antibiotic therapy, which both interfere with the ability of

coagulation factors in the patient sample to interact with the phospholipids present in

the test reagent.



                                          12
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 15 of 35




According to the College of American Pathologist (CAP) proficiency program for

assessing laboratory test quality, the vast majority of US laboratories use some

iteration of the Quick PT method.

 CAP CGL‐A     Neoplastine Neoplastine PT‐FIB HS                              Thromborel Triniclot Triniclot
                                                   PT‐FIB   R2G     Innovin
   2016          CI Plus       CI        Plus                                     S       Excel S     HTF
Instrument A       41           6         68        32       20       15          29         18        17

Instrument B      1027                    25        43       6        12           6

Instrument C       176                    10         7      276      210          59

Instrument D       290                                       15      1388         12

Instrument E                                                876       29          5

    Total         1534          6         103       82      1193     1654        111         18        17

   % Users        33.0%       0.1%       2.2%      1.7%     25.2%   34.9%        2.3%       0.4%     0.4%
The table represents the 2016 CAP CG survey results for PT testing. R2G: Recombiplastin 2G.
Instrument A‐E reflect different instruments types but may not be the same for each reagent column

Activated Partial Thromboplastin time (APTT)

First described by Langdell and colleagues at the University of North Carolina in 1953,

under a different description, kaolin cephalin thromboplastin time, this test was

developed as a means of assessing hemophilia patients. Kaolin served as an activator

of factor XII, initiating the intrinsic pathway, whereas cephalin served as a

phospholipid source, required for coagulation. Over the years the changes have

included the use of other activators (celite, ellagic acid) and modifications to the types

and concentrations of phospholipid sources to control the reagent’s sensitivity to

factor VIII and IX, unfractionated heparin, and lupus anticoagulants. Similar to PT,

there are whole blood methods, albeit not as widely used, and the most common

sample used for APTT testing also utilizes 3.2% sodium citrate PPP. There is no INR

equivalent for APTT testing, but use of APTT ratios (results/population or control


                                                     13
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 16 of 35




mean) have been reported as an attempt to normalize the results for comparison

between reagents and instruments, although this method is not widely embraced. The

APTT clotting time of normal healthy individuals varies depending on the reagent, clot

detection method, activator type and concentration, and phospholipid type and

concentration, but varies with a range between 25 ‐ 40 seconds. Prolongation of the

APTT would suggest a factor deficiency or antibody inhibition to the intrinsic or

common pathway factors (Fibrinogen, II, V, VIII, X, XI and contact factors including XII,

prekallikrein and high molecular weight kininogen). The APTT is also used to monitor

patients undergoing parenteral anticoagulation [e.g. unfractionated heparin therapy,

direct thrombin inhibitors such as bivalirudin], but may also be prolonged in patients

with normal factor levels but with antiphospholipid antibodies (e.g. lupus

anticoagulant) or lipoglycopeptide antibiotic therapy, similar as noted above with PT

testing. Anticoagulation using either unfractionated heparin (UFH) or low molecular

weight heparin (LMWH), complexes with the patient’s circulating antithrombin (AT),

makes a configuration change of AT which accelerates the inhibition of serine

proteases (activated factors), primarily activated factors IX (IXa), X (Xa), and thrombin

(IIa). The degree of UFH anticoagulation is most commonly assessed using the APTT,

with a target established by local heparin therapeutic range, but alternative methods

can be used, such as the anti‐Xa activity, or more rarely, the thrombin time. Treatment

doses of LMWH may not elevate the APTT, and although not routinely monitored, an

alternative method, such as the anti‐Xa, is required when assessment of LMWH

anticoagulation is necessary.




                                           14
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 17 of 35




Anti‐Xa activity test:

Unlike the PT and APTT, which are assays based on a clot formation endpoint, the anti‐

Xa activity is most commonly measured using a chromogenic assay. Exogenous factor

Xa is added to patient PPP plasma, which complexes to heparin present in the plasma.

A secondary reagent is then added to the sample, where residual factor Xa cleaves a

peptide, which results in color development. The amount of color produced is

inversely proportional to the amount of heparin present in the plasma. The heparin is

quantified by comparing the color production to a standard curve created from testing

plasma samples containing known amounts of heparin. The standard curves may be

created from single source heparin (e.g. UFH, LMWH or pentasaccharide) or a

combination of UFH and LMWH samples (hybrid). A rarely used alternative method

for assessing anti‐Xa uses a clotting endpoint, titration method, using protamine

sulfate as a UFH neutralizing agent. Commercial anti‐Xa kits may vary in whether they

supplement antithrombin or not. For those kits that supplement AT, the anti‐Xa

activity may not represent the actual anticoagulant effect in patients with AT

deficiency (<50%). Conversely, using a kit that does not supplement AT, in those

patients that are AT deficient, and get AT supplementation (e.g. plasma transfusion),

there may be a paradoxical increase in heparin activity. One cannot distinguish anti‐Xa

results between UFH, LMWH, pentasaccharide or anti‐Xa DOACs using chromogenic

anti‐Xa methods. Note, that unlike the PT and APTT, which also serve as diagnostic

tests, the anti‐Xa test is strictly for assessing drug effect.




                                              15
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 18 of 35




                    Anti-Xa activity test
                                 Heparins, Xarelto,
                                 Eliquis, Savaysa


  plasma [anti-Xa drug] + exogenous antithrombin

                                                           Excess
                                                           factor Xa

   [Anti-Xa drug + Xa complex] + residual factor Xa

          Chromogenic substrate
                                              yellow color
            Amount of yellow color produced is inversely proportional to drug present
            Calibration with specific anti-Xa drugs provides quantitative measurements




BAY 59‐7939: Rivaroxaban

In 2005, Bayer scientists describe their efforts in producing a serine protease

(activated factor X, Xa) inhibitor using a small molecule as an alternative strategy for

anithrombotic therapy. [Roehrig S, Straub A, Pohlmann J, Lampe T, Pernerstorfer J,

Schlemmer KH, Reinemer P, Perzborn E. Discovery of the novel antithrombotic agent

5‐chloro‐N‐({(5S)‐2‐oxo‐3‐[4‐(3‐oxomorpholin‐4‐yl)phenyl]‐1,3‐oxazolidin‐5‐

yl}methyl)thiophene‐ 2‐carboxamide (BAY 59‐7939): an oral, direct factor Xa inhibitor.

J Med Chem. 2005;48(19):5900‐8.; Perzborn E, Strassburger J, Wilmen A, Pohlmann J,

Roehrig S, Schlemmer KH, Straub A. In vitro and in vivo studies of the novel

antithrombotic agent BAY 59‐7939‐‐an oral, direct Factor Xa inhibitor. J Thromb

Haemost. 2005;3(3):514‐21.] They describe the concept of the amount of drug

required to double the (PT) clotting time using drug enriched plasma from human and

rats, the inhibition of factor Xa and the prolongation of the PT in a rat stasis model, rat

arteriovenous shunt model, and rabbit arteriovenous shunt model.




                                                                                         16
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 19 of 35




Xarelto assessment using screening tests – the data:

In 2005, Perzborn and colleagues demonstrated a dose dependent PT response in both

the rat and rabbit arteriovenous (AV) shunt model. In a rabbit AV model, there was

excellent correlation (correlation coefficient of 0.98) between the PT, using

Neoplastine reagent (Diagnostics Stago) and plasma concentrations of BAY59‐7939

(Xarelto). From these data, the authors suggested “…that PT can be used to

characterize the anticoagulant efficacy of BAY 59‐7939 in humans.”. [Perzborn E,

Strassburger J, Wilmen A, Pohlmann J, Roehrig S, Schlemmer KH, Straub A. In vitro and

in vivo studies of the novel antithrombotic agent BAY 59‐7939‐‐an oral, direct Factor

Xa inhibitor. J Thromb Haemost. 2005;3(3):514‐21.] The authors also used the concept

of the amount of drug to double the clotting time (CT2) from baseline as a means to

compare the sensitivity of laboratory tests of drug. Using drug enriched human

plasma, the CT2 for PT was 0.23 μM and 0.69μM for the APTT. There was poor

description of the reagents used for this analysis, other than they were from

“commercially available kits.” Factor Xa inhibition was also described using drug

enriched human, rat and rabbit plasma in addition to the venous stasis and AV‐shunt

models noted above. Another study about the use of chromogenic methods for

assessing the anti‐Xa activity of rivaroxaban was reported by Kubitza and colleagues

where they demonstrated a curvilinear correlation between plasma concentration of

BAY‐59‐7939 and factor Xa inhibition. [Kubitza D, Becka M, Voith B, Zuehlsdorf M,

Wensing G. Safety, pharmacodynamics, and pharmacokinetics of single doses of BAY

59‐7939, an oral, direct factor Xa inhibitor. Clin Pharmacol Ther. 2005;78(4):412‐21.]

They also noted the linear relationship between BAY 59‐7939 and PT measurements.


                                           17
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 20 of 35




In 2006, Kubitza and collegues measured the effects of food and ranitidine on a single

30 mg dose of BAY59‐7939 in healthy males. [Kubitza D, Becka M, Zuehlsdorf M,

Mueck W. Effect of food, an antacid, and the H2 antagonist ranitidine on the absorption

of BAY 59‐7939 (rivaroxaban), an oral, direct factor Xa inhibitor, in healthy subjects. J

Clin Pharmacol. 2006;46(5):549‐58.] The authors measured plasma drug

concentration, PT and factor Xa inhibition. They were able to demonstrate a greater

PT prolongation, Xa inbibition, and plasma concentration with food vs fasting and

indicated that “…dose dependent and predictable effect‐time profile for PT

prolongation, suggest that this pharmacodynamics parameter may be suitable to

employ in clinical trials as an assessment of drug exposure.” As with the Perzborn

group, this study used Neoplastine PT reagent on an Amulung coagulation analyzer.

In 2008, a dose escalating study was performed in healthy elderly patients. [Kubitza D,

Becka M, Roth A, Mueck W. Dose‐escalation study of the pharmacokinetics and

pharmacodynamics of rivaroxaban in healthy elderly subjects. Curr Med Res Opin.

2008;24(10):2757‐65.] Each patient received a single dose of either 30mg, 40mg, or

50mg of rivaroxaban and peak (2‐4 hours after dose) blood samples were collected.

The peak samples were measured for PT, using Neoplastin Plus PT, and APTT, using a

kaolin activated reagent (Roche) on the Amelung instrument. There was a 2.1‐2.5 fold

increase in PT measurements, with no difference between 40mg/50mg, but less

prolongation noted with the 30mg dose. The authors also reported a linear

relationship with Neoplastine PT and rivaroxaban levels in both healthy elderly and

orthopedic patients receiving 10mg daily.


                                            18
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 21 of 35




                                                               Figure 5. Correlation between rivaroxaban plasma concentrations and prothrombin time in healthy, elderly male and female subjects (dashed line), and
                                                               healthy, young male subjects (solid line)18. The shaded box shows the approximate average concentration range (minimum–maximum plasma
                                                               concentration) in orthopaedic patients receiving rivaroxaban 10 mg once daily 27




                                                            Published in: Dagmar Kubitza; Michael Becka; Angelika Roth; Wolfgang Mueck; Current Medical Research and Opinion 2008, 24, 2757-2765.
                                                            DOI: 10.1185/03007990802361499
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 Kubitza et al, Clin Pharmacol Ther. 2005;78:412-21.




In 2008, Bayer study collaborators published the correlation between BAY 59‐7939

and PT and anti‐Xa inhibition both at “steady state” and day 6 or day 7 in knee and hip

orthopedic surgery. [Meuck et al Clin Pharmacokinet 2008; 47:203‐216]. They detail

the expected range for the dose given (shaded areas). “Steady state” was defined day 4

or 5 past surgery.




                                                       19
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 22 of 35




The early publication reports on BAY‐59‐7939 and PT effect using a single source of

reagent. In 2010, Samama and colleagues published their findings of rivaroxaban

enriched pooled normal human plasma using five PT reagents (Neoplastin, Neoplastin

Plus, Innovin, Thromborel S, and Triniclot) on a single coagulation analyzer (STA‐R,

Stago), but also on a point‐of‐care PT platform (Coagucheck XS). [Samama MM,

Martinoli JL, LeFlem L, Guinet C, Plu‐Bureau G, Depasse F, Perzborn E. Assessment of

laboratory assays to measure rivaroxaban‐‐an oral, direct factor Xa inhibitor. Thromb

Haemost. 2010;103(4):815‐25.] They also describe the effects of rivaroxaban using

contrived samples for other laboratory assays including APTT (using CK_Prest, Stago

and Actin FSL, Siemens), thromboelastography, modified PT (Heptest), DRVVT, and

thrombin generation test, and demonstrated effects of testing fresh versus frozen

stored plasma. Later in 2010, Barrett and colleagues also published their findings on

rivaroxaban enriched normal human plasma using multiple PT reagents, again all on

the STA‐R analyzer. [Barrett YC, Wang Z, Frost C, Shenker A. Clinical laboratory

measurement of direct factor Xa inhibitors: anti‐Xa assay is preferable to prothrombin

time assay. Thromb Haemost. 2010;104(6):1263‐71.] The CT2 reported by that group

for Neoplastin CI was 580mg/mL; for Neoplastin CI Plus was 546ng/mL; for Innovin

was 828ng/mL; and for Recombiplastin (Instrumentation Laboratory) was 642ng/mL.

These data suggested equivalence for Neoplastin and Recombiplastin PT sensitivity to

rivaroxaban, whereas this study demonstrated the relatively insensitivity of Innovin

PT reagent to drug presence. In 2010, the emergence of anti‐Xa measurements began

to arise. Samama and colleagues introduced several assays to assess rivaroxaban,

including anti‐Xa measurements [Samama MM, Martinoli JL, LeFlem L, Guinet C, Plu‐
                                          20
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 23 of 35




Bureau G, Depasse F, Perzborn E. Assessment of laboratory assays to measure

rivaroxaban‐‐an oral, direct factor Xa inhibitor. Thromb Haemost. 2010

Apr;103(4):815‐25.]. They demonstrated a dose dependent relationship between

rivaroxaban concentration and optical density (OD) changes in the assay using two

different methods (Rotachrom LMWH and Stachrom UFH, Stago). Presumably, they

calibrated using LMWH or UFH calibrators, but limited data was presented for a more

thorough assessment of their data.



In 2011, two studies from treated patients, and one study from contrived samples,

were published. Contrived samples containing expected trough (25ng/mL) and peak

(200ng/mL) rivaroxaban concentrations were sent to multiple laboratories employing

both Quick and Owren PT methods, as well as different APTT reagents. [Hillarp A,

Baghaei F, Fagerberg Blixter I, Gustafsson KM, Stigendal L, Sten‐Linder M, Strandberg

K, Lindahl TL. Effects of the oral, direct factor Xa inhibitor rivaroxaban on commonly

used coagulation assays. J Thromb Haemost. 2011 Jan;9(1):133‐9.] As noted with the

Barrett group, Hillarp and colleagues also demonstrated similar CT2 values were

obtained between Neoplastin and Recombiplastin reagents. The Hillarp group also

noted that Thromborel S PT was the least sensitive Quick method, and that all Owren

PT methods demonstrated CT2 >870ng/mL. In a study on post hip or knee

reaplacement patients receiving a daily dose of 10mg rivaroxaban daily dose,

Freyberger and colleagues measured PT (Recombiplastin) and APTT on the ACL TOP

analyzer, quantifying drug concentration using a calibrated anti‐Xa method (Hypehn

DiXAI), and thrombin generation test during selected time frames: T0 pre surg; T1 just


                                           21
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 24 of 35




after surgery; T2‐T4 twice a week during the period. [Freyburger G, Macouillard G,

Labrouche S, Sztark F.Coagulation parameters in patients receiving dabigatran

etexilate or rivaroxaban: two observational studies in patients undergoing total hip or

total knee replacement. Thromb Res. 2011 May;127(5):457‐65.] They reported that

the PT correlated (R=0.745) better to drug concentration than the APTT (R=0.468).

They also noted that there was better PT correlation within patient (R=0.860) to drug

concentration, suggesting between patient variability. For thrombin generation, they

demonstrated an increased t‐lag time with decreased thrombin generation, as

expressed by the area under the curve (AUC), with no difference in any TGT parameter

between T3 and T4 timed collections. Mani and colleagues published their study

comparing 4 different PT reagents (Thromborel S; Innovin; Neoplastin Plus; and

Recombinplastin) were tested on pretreatment samples and peak (2 hours after dose)

and trough timed collections from orthopedic patients receiving 10mg once daily.

[Mani H, Hesse C, Stratmann G, Lindhoff‐Last E. Rivaroxaban differentially influences

ex vivo global coagulation assays based on the administration time. Thromb Haemost.

2011 Jul;106(1):156‐64. ] All PT results demonstrated some degree of prolongation at

peak collections, with all returning to comparable pre‐Rx PT results at 12 hours

(trough collection). As seen in earlier studies, Neoplastin Plus was the most sensitive

PT reagent to rivaroxaban concentration. Harenberg and colleagues published their

findings on rivaroxaban effect on drug‐contrived samples using five different

commercial kits (Coamtic, IL, Stago x2, and Technochrom) for quantifying heparin

(anti‐Xa activity). Using the STA Rotachrom heparin method (Stago) as the predicate




                                           22
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 25 of 35




method for comparison purposes, all kits demonstrated an R>0.99. All methods

demonstrated a dose dependent response of OD changes and drug concentration.



As the FDA was approving rivaroxaban use in patients with atrial fibrillation and

venous thromboembolism prophylaxis, there were a handful of publications

addressing the presence of drug and the impact on coagulation studies. However, the

shortcomings of these publications were 1) instruments no longer in use, or of limited

use in the US (e.g. Amelung), 2) evaluation used on instruments that may not have

been optimized for reagent (between manufacturer such as Siemens reagents on Stago

analyzer), 3) the uncertainty of whether data on reagent sensitivity using contrived

samples will be similar to using treated patients, 4) mostly single site evaluations so

unclear about whether differences existed between laboratories using same screening

reagents, and 5) promising data about dose dependent relationship between

rivaroxaban concentration and commercial kits for measuring heparin activity using

chromogenic anti‐Xa methods.



In 2012, three more publications using either single dose in healthy volunteers or

contrived samples were published, with two of these studies sending blinded samples

to different laboratories. Asmis and colleagues prepared blinded samples from

samples collected from 20 healthy volunteers after a single 10mg dose. [Asmis LM,

Alberio L, Angelillo‐Scherrer A, Korte W, Mendez A, Reber G, Seifert B, Stricker H,

Tsakiris DA, Wuillemin WA.Rivaroxaban: Quantification by anti‐FXa assay and

influence on coagulation tests: a study in 9 Swiss laboratories.Thromb Res. 2012


                                           23
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 26 of 35




Apr;129(4):492‐8.] The samples were sent to 9 different Swiss laboratories and their

data suggested a “high reliability” between Innovin and rivaroxaban concentration

(R=0.81), with modest correlation of drug concentration and APTT (R=0.71). They

also noted that drug calibrated chromogenic factor Xa measurements provided

accurate measurements of rivaroxaban concentration. Later in 2012, the Scientific and

Standardization Committee (SSC) for the Control of Anticoagulation of the

International Society of Thrombosis and Haemostasis (ISTH) published their

recommendations for the laboratory assessment of rivaroxaban, based on the findings

of contrived blinded samples sent to different laboratories.[Harenberg J, Marx S, Weiss

C, Krämer R, Samama M, Schulman S; Subcommittee on Control of Anticoagulation of

the ISTH. Report of the Subcommittee of Control of Anticoagulation on the

determination of the anticoagulant effects of rivaroxaban.J Thromb Haemost. 2012

Jul;10(7):1433‐6.] The contrived rivaroxaban samples were either disclosed at

concentrations of 90ng/mL, 50ng/mL, 150ng/mL, and 500ng/mL, or blinded samples

which were stated to contain 100ng/mL, 350ng/mL and 700ng/mL of rivaroxaban. All

13 laboratories participated, but only Neoplastin Plus PT reagent was used. From

these data, the committee indicated that Neoplastin “is the most precise method for

determination of the anticoagulant rivaroxaban in human plasma.” In late 2012, the

Belgium group led by J Douxfils, published their findings on contrived samples using

multiple PT reagents on the STA‐R analyzer, as well as assessing dilute PT, thrombin

generation, and anti‐Xa measurements. From their data, the calculated CT2 were

66ng/mL for Triniclot PT Excel S; 73ng/mL for Recombiplastin 2G; 84ng/mL for

Neoplastin R; 135ng/mL for Neoplastin CL Plus; 161ng/mL for Triniclot PT Excel;


                                          24
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 27 of 35




180ng/mL for Triniclot PT HTF; 258ng/mL for Innovin. [Douxfils J, Mullier F, Loosen C,

Chatelain C, Chatelain B, Dogné JM. Assessment of the impact of rivaroxaban on

coagulation assays: laboratory recommendations for the monitoring of rivaroxaban

and review of the literature. Thromb Res. 2012 Dec;130(6):956‐66.] For anti‐Xa

assessment, Samama and colleagues expanded on their previous work, with contrived

calibrators and controls sent to 24 laboratories in Europe and North America. They

concluded that when using rivaraxaban calibrators and controls, the “…anti‐factor Xa

chromogenic method is suitable for measuring a wide range of rivaroxaban plasma

concentrations…” [Samama MM, Contant G, Spiro TE, Perzborn E, Guinet C, Gourmelin

Y, Le Flem L, Rohde G, Martinoli JL; Rivaroxaban Anti‐Factor Xa Chromogenic Assay

Field Trial Laboratories. Evaluation of the anti‐factor Xa chromogenic assay for the

measurement of rivaroxaban plasma concentrations using calibrators and controls.

Thromb Haemost. 2012 Feb;107(2):379‐87.] An external study evaluating the use of a

single chromogenic assay (Hyphen BioMed) in Swiss laboratories using prepared

calibrators and blinded samples was performed by Asmis and colleagues, which

demonstrated the mean accuracy and precision coefficient of variation to be 7.0% and

8.8%, respectively, and that rivaroxaban can be “quantified accurately and precisely by

a chromogenic anti‐FXa assay on different coagulometers in different laboratories…”

[Asmis LM, Alberio L, Angelillo‐Scherrer A, Korte W, Mendez A, Reber G, Seifert B,

Stricker H, Tsakiris DA, Wuillemin WA. Rivaroxaban: Quantification by anti‐FXa assay

and influence on coagulation tests: a study in 9 Swiss laboratories. Thromb Res. 2012

Apr;129(4):492‐8.] Mani and colleagues explored the use of different chromogenic

anti‐Xa methods for quantifying rivaroxaban in patients receiving a 10mg daily dose.


                                           25
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 28 of 35




In their study, they evaluated the use of different rivaroxaban calibrators (LOW and

HIGH) that spanned different drug concentrations (0‐97.1ng/nL and 0‐433.3ng/mL

respectively). They concluded that samples with rivaroxban levels <25ng/mL,

assessed using the HIGH calibrators, be analyzed using the LOW calibration method,

but also concluded that “anti‐factor Xa chromogenic assays that use rivaroxaban

calibrators at different concentration levels can be used to measure accurately a wide

range of rivaroxaban concentrations ex vivo.” [Mani H, Rohde G, Stratmann G, Hesse C,

Herth N, Schwers S, Perzborn E, Lindhoff‐Last E. Accurate determination of

rivaroxaban levels requires different calibrator sets but not addition of antithrombin.

Thromb Haemost. 2012 Jul;108(1):191‐8. ]



In 2013, two additional studies on laboratory and rivaroxaban testing were published.

Helin and colleagues sent blinded samples to different laboratories as part of an

External Quality Assurance (EQA) program created from contrived (60ng/mL,

146ng/mL and 305ng/mL) plasma and treated patients (N=10). [Helin TA, Pakkanen

A, Lassila R, Joutsi‐Korhonen L. Laboratory assessment of novel oral anticoagulants:

method suitability and variability between coagulation laboratories. Clin Chem. 2013

May;59(5):807‐14.] They sought to determine whether differences existed between

contrived and patient samples for screening tests. The reporting laboratories used

mostly Owren PT methods, with Innovin as the sole Quick PT method reported. They

determined that the patient samples (ranged from 32‐138ng/mL) did not significantly

differ from the 60ng/mL contrived sample, and no patient sample exceeded the

reference range for the Nycotest PT or Actin FSL APTT. Using contrived and real


                                           26
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 29 of 35




patient samples, Douxfils and colleagues reported PT using Triniclot PT Excel S and

Innovin, with relative poor correlation (R=0.62 and R=0.58 respectively) to

rivaroxaban concentration. [Douxfils J, Tamigniau A, Chatelain B, Chatelain C,

Wallemacq P, Dogné JM, Mullier F. Comparison of calibrated chromogenic anti‐Xa assay

and PT tests with LC‐MS/MS for the therapeutic monitoring of patients treated with

rivaroxaban. Thromb Haemost. 2013 Oct;110(4):723‐31.] Slopes were not provided,

but it was clear that Innovin was the less responsive PT reagent to rivaroxaban

concentration. They concluded that based on these two reagents, the PT had a poor

correlation to rivaoxaban concentration. Consistent with those findings, the Sheffield

group reported normal Innovin and Thromborel S PT results in 3 patients with

rivaroxaban concentrations 115ng/mL (trough collection), 253ng/ml (peak collection)

and 273ng/mL (peak collection) and one sample 276ng/mL rivaroxaban with a PT

result 0.1s over reference range. [van Veen JJ, Smith J, Kitchen S, Makris M. Normal

prothrombin time in the presence of therapeutic levels of rivaroxaban. Br J Haematol.

2013 Mar;160(6):859‐61.] In a study on patients receiving rivaroxaban, the PT

assessed using Recombiplastin 2G demonstrated 13/33 normal PT results in randomly

collected samples with measured rivaroxaban concentrations of <90ng/mL. [Rodgers

R, Bagot CN, Lawrence C, Hickman G, McGurk M, Tait RC. Correlating prothrombin time

with plasma rivaroxaban level. Br J Haematol. 2013 Dec;163(5):685‐7.]



In 2014, Koscielny and colleagues reported a series of PT results in different

populations of patients treated with rivaroxaban. The data included patients receiving

10mg, 15mg or 20mg for VTE, or 15mg and 20mg for atrial fibrillation (Afib).


                                           27
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 30 of 35




[Koscielny J, Rutkauskaite E. Rivaroxaban and hemostasis in emergency care. Emerg

Med Int. 2014;2014:935474.] Based on their findings, they concluded “…in acute

situation, the determination of PT could deliver valuable preliminary information on

the effect of rivaroxaban. A normal PT value, obtained using a sensitive

thromboplastin reagent, indicates that a clinically significant residual level of

rivaroxaban is unlikely.” However, there was no clear definition of what constitutes a

“sensitive thromboplastin reagent” and their data was limited to Neoplastine CI Plus

reagent. A published study from a collaborative study between University of North

Carolina, UC Davis Health System and Esoterix laboratories introduced the concept of

“misprediction” laboratory tests. In that study, PT, APTT, and activated clotting times

(ACT) were tested on peak and trough samples collected from patients receiving 20mg

once daily rivaroxaban. [Francart SJ, Hawes EM, Deal AM, Adcock DM, Gosselin R,

Jeanneret C, Friedman KD, Moll S. Performance of coagulation tests in patients on

therapeutic doses of rivaroxaban. A cross‐sectional pharmacodynamic study based on

peak and trough plasma levels. Thromb Haemost. 2014 Jun;111(6):1133‐40.] We

defined misprediction as the range of rivaroxaban results (95th percentile, 8.9‐

660g/mL) obtained, and values that did not exceed the upper limit of the normal

reference for each respective PT reagent. The misprediction rate was stated to be 47‐

52% for Innovin, 38% for Recombiplastin, 21% for Neoplastin CI Plus, and only 10%

for Hemochron Signature Elite, a point‐of‐care device.




                                            28
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 31 of 35




  Francart et al, Thromb Haemost. 2014;111:1133-40




Several published findings for rivaroxaban and laboratory were published in 2015. In

an EQA program, blinded contrived samples containing rivaroxaban enriched human

plasma containing 120ng/mL and 290ng/mL were sent to laboratories throughout

Belgium. [van Blerk M, Bailleul E, Chatelain B, Demulder A, Devreese K, Douxfils J,

Jochmans K, Mullier F, Wijns W, Soumali MR, Coucke W, Vernelen K, Van de Walle P.

Influence of dabigatran and rivaroxaban on routine coagulation assays. A nationwide

Belgian survey. Thromb Haemost. 2015 Jan;113(1):154‐64.] The submitted data

indicated that for sensitivity to rivaroxaban, Neoplastin R was greater than Neoplastin

CI Plus, which was similar to R2G, which was greater than Innovin, which was similar

to Thromborel S. They also noted that within reagent variability was low (<5%) but

variability between reagents were higher at 12.3% and 23.3% for the 120ng/mL and

290ng/mL samples respectively. Similar to other published findings, Nakano and

colleagues reported no difference in Recombiplastin generated PT results between

baseline or trough collections in Japanese patients receiving rivaroxaban for Afib.


                                                     29
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 32 of 35




[Nakano Y, Kondo T, Osanai H, Murase Y, Nakashima Y, Asano H, Ajioka M, SakaiK,

Inden Y, Murohara T. Clinical usefulness of measuring prothrombin time and soluble

fibrin levels in Japanese patients with atrial fibrillation receivingrivaroxaban. J Cardiol.

2015 Mar;65(3):185‐90.] They did note differences in PT measurements for peak

concentrations, but the study was limited in that no rivaroxaban concentrations were

assessed.



In 2016, another published finding from EQA samples containing rivaroxaban was

available. The Australian EQA program demonstrated results contrary to other studies

where Recombiplastin demonstrated a higher degree of sensitivity than Neoplastine CI

Plus. [Bonar R, Favaloro EJ, Mohammed S, Ahuja M, Pasalic L, Sioufi J, Marsden K. The

effect of the direct factor Xa inhibitors apixaban and rivaroxaban on haemostasis tests:

a comprehensive assessment using in vitro and ex vivo samples. Pathology. 2016

Jan;48(1):60‐71.] Another 2016 publication using Owren type PT reagent (SPA+,

Stago) demonstrated no correlation with rivaroxaban levels. [Al‐Aieshy F, Malmström

RE, Antovic J, Pohanka A, Rönquist‐Nii Y, Berndtsson M, Al‐Khalili F, Skeppholm M.

Clinical evaluation of laboratory methods to monitor exposure of rivaroxaban at

trough and peak in patients with atrial fibrillation. Eur J Clin Pharmacol. 2016

Jun;72(6):671‐9.]




                                            30
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 33 of 35




The following are summary data for the calculated rivaroxaban concentration required

to double the clotting time (PT) from various studies:

                     Perzborn    Samama       Barrett     Hillarp       Douxfils          Gosselin
                       2005        2010        2010        2011          2012              2015
 Sample type          Spiked      Spiked      Spiked      Spiked         Spiked          Calibrators +
                                                                                           Patients
 Thromborel S                      500                   885 ± 202
 Innovin                           700           828      591 ± 76         258             Cal: 384
                                                                                          Pat: 1007
 Technoplastin                                           557 ± 119
 Neoplastine         230 ± 20      420        580 CI      506 ± 70       135 CI +          Cal: 221
                                             546 CI+                      84 R             Pat: 437
 Recombiplastin                    300         642       498 ± 54          73              Cal: 264
                                                                                           Pat: 658
 TriniClot                         450                                66 PT Excel S
                                                                      161 PT Excel
                                                                       180 PT HTF


Where are we today?: Laboratory Assessment

The following are summary points based on the literature cited:

      Consistent findings with respect to sensitivity for Neoplastine CI Plus in both in‐

       vitro and real world patients samples make this reagent suitable for assessing

       the relative intensity of rivaroxban anticoagulation, although not suitable for

       determining precise concentrations.

      Consistent findings demonstrate Innovin is relatively insensitive to rivaroxaban

       making it unable to reliably exclude significant effects of this drug. In a patient

       with known exposure to rivaroxaban, an elevated Innovin based PT would

       suggest a high rivaroxaban level, unless proven otherwise. A normal PT based

       on Innovin cannot rule out significant anticoagulation effects from rivaroxaban.

      There are inconsistent findings with Recombiplastin 2G as some studies suggest

       it is sensitive, whereas others did not. At present, it is unclear whether this

       reagent should be used to assess rivaroxaban effect.
                                            31
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 34 of 35




     Quick PT methods appear to be more sensitive to rivaroxban effect than Owren

      PT methods.

     Prolonged PT in rivaroxaban treated patients should be considered secondary

      to rivaroxaban until proven otherwise. Mixing studies, factor assays or

      performing anti‐Xa activity (noted below) may assist in interpreting prolonged

      PT results.

     The arguable gold standard method for measuring rivaroxaban concentration is

      considered to be tandem mass spectrometry. However, rivaroxaban calibrated

      anti‐Xa measurements of rivaroxaban have been demonstrated to be equivalent

      to those measured by tandem mass spectrometry.

     In emergent situations, those laboratories that perform UFH or LMWH anti‐Xa

      measurements, should consider that method for estimating drug concentration.

      A result <LLD would suggest insignificant amounts of rivaroxaban, should the

      purpose of a drug measurement be for emergent surgery, thrombolytic therapy,

      or other acute clinical situations requiring immediate intervention.

     Published data may be useful for laboratories to estimate their UFH or LMWH

      calibrated anti‐Xa method and rivaroxaban concentration.

     Other methods for measuring rivaroxaban anticoagulant effect, such as Heptest,

      PiCT, Thromboelastography, rotational thromboelastometry, or thrombin

      generation tests have not demonstrated sufficient sensitivity or specificity to

      warrant routine use.

     The use of drug calibrated Dilute Russell’s Viper Venom is another means for

      measuring the anticoagulant effect of rivaroxaban.

                                          32
Case 2:14-md-02592-EEF-MBN Document 5114-11 Filed 01/20/17 Page 35 of 35




     All rapid methods for assessing the anticoagulant effect of rivaroxaban,

      including PT, drug calibrated anti‐Xa methods or drug calibrated DRVVT are

      relatively inexpensive.

     Drug calibrated rapid methods for quantifying rivaroxaban provide an accurate

      measurement of rivaroxaban (ng/mL) as compared to tandem mass

      spectrometry.

     The capacity to (rapidly) assess, but ideally quantify, rivaroxaban anticoagulant

      effect or levels could be helpful in an emergent situation or in trying to assess

      whether or not a patient is at an increased risk from high exposure to

      rivaroxaban.




                                          33
